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Attomey for Plaintiff

UNITED STATES DISTRICT COURT
FORTHE DISTRICT OF IDAHO
]ENNIE CLAYTON LILYA, Case No.: 4116-cv-1 13
Plaintiff,
ORDER TO DISMISS
WITH PREJUDICE

V.
liability company, JOHNSON MARK, LLC, a Utah
limited liability company.

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MIDLAND FUNDING, LLC, a Delaware limited )
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)
Defendants. )

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The Court has considered the parties’ Stipulatjon to dismiss this case and, good cause
appearing; IT IS HEREBY ORDERED that this action be DISMISSED, with prejudice, because the
parties have fully settled the controversy between them. All claims against all Defendants are

dismissed, With each party to bear their respective costs and fees.

D”€d: 6/21/!(0
W%YOW/(

HoNoRABLE WILLIAM E. SMI§”H

Order to Dismiss With Prejudice - Page 1 of 1

